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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CHRISTOPHER MANHART, individually              )
 and on behalf of all others similarly          )
 situated,                                      )
                                                )
        Plaintiff,                              )
                                                )
                     v.                         )          Case No. 1:24-cv-8209
                                                )
 NATIONAL STUDENTS FOR JUSTICE                  )          Hon. Mary L. Rowland
 IN PALESTINE, a project of WESPAC              )
 FOUNDATION, INC.; et al.                       )
                                                )
        Defendants.
        DEFENDANT NATIONAL STUDENTS FOR JUSTICE IN PALESTINE’S
                  MOTION TO JOIN MOTION TO STRIKE

        Defendant National Students for Justice in Palestine (NSJP), respectfully moves to join

the Motion to Strike filed at Dkt. #77.

       In support of this Motion, Defendant, through counsel, shows to the Court as follows:

       1.      On February 25, 2025, co-Defendants Dissenters, Jewish Voices for Peace, and

Individual Defendants filed a pleading captioned, Motion to Strike Allegations from Second

Amended Complaint. (Dkt. #77).

       2.      Defendant National Students for Justice in Palestine (“NSJP”) respectfully seeks to

join that motion and the relief requested therein. Granting leave to join the motion would avoid

unnecessary briefing and duplication of arguments.



       WHEREFORE, Defendant NSJP respectfully requests leave to join the Motion to Strike at

Dkt. #77 and the relief requested therein.




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                                           Respectfully submitted,

                                           /s/ Joshua G. Herman
                                           JOSHUA G. HERMAN


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